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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 JUDICIAL WATCH, INC.,
                                                       Civil Action No. 1:18-cv-00262 (RBW)
        Plaintiff,

 v.

 UNITED STATES DEPARTMENT OF
 JUSTICE,

        Defendants.


                             SECOND JOINT STATUS REPORT

       Pursuant to the parties’ prior Joint Status Report [ECF No. 8] and the Court’s minute

order of April 5, 2018, the parties hereby submit the following further joint status report.

       1.      This case concerns a Freedom of Information Act (“FOIA”) request submitted by

plaintiff to the Federal Bureau of Investigation (“FBI”), a component agency of defendant United

States Department of Justice. Plaintiff’s FOIA request sought copies of all records “located

within the larger collection of former Director [James B.] Comey’s records” as described in the

Second Declaration of David M. Hardy, which was filed on December 6, 2017, in CNN v.

Federal Bureau of Investigation, No. 17-cv-01167 (D.D.C.).

       2.      The parties have agreed to a partial reduction in the scope of plaintiff’s original

request. The FBI estimates that the request as revised still encompasses at least 8,000 potentially

responsive pages. The FBI has begun processing these potentially responsive pages.

       3.      The FBI anticipates that it will make its first production, consisting of the

responsive non-exempt portions of approximately 100 pages processed, on May 11, 2018. The

FBI then intends to process an additional 500 pages and produce the non-exempt portions of the
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responsive records included in each set of 500 pages, on June 15, 2018, and on the 15th day of

every month thereafter (or on the next business day if the 15th is not a business day). (Any

excess by which one month’s processing total exceeds 500 pages may be applied against the next

month’s obligation.)

       4.      The parties propose to submit another status report on or before July 1, 2019.

Dated: May 7, 2018                                  Respectfully submitted,
                                                    CHAD A. READLER
                                                    Acting Assistant Attorney General
                                                    Civil Division

                                                    MARCIA BERMAN
                                                    Assistant Branch Director, Civil Division

 /s/Michael Bekesha                                 /s/Carol Federighi
 Michael Bekesha                                    CAROL FEDERIGHI
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